    Case 2:22-cv-04355-JFW-JEM Document 474 Filed 06/10/24 Page 1 of 1 Page ID #:36745

 WHEN RECORDED MAIL TO:                                                                         Reset Form

 John D. Tennert III
 7800 Rancharrah Parkway
 Reno, Nevada 89511




                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                        I                  CASE NUMBER:
YUGA LABS,INC.,


                                     PLAINTIFF(S),      I CV 2:22-cv-04355-JFW-JEM
                           v.

RYDER RIPPS, JEREMY CAHEN                                     ABSTRACT OF JUDGMENT/ORDER

                                   DEFENDANT(S).



I certify that in the above-entitled action and Court, Judgment/Order was entered on February 3, 2024
in favor of yuga Labs, Inc.
whose address is 1430 S. Dixie Hwy Coral Gables, FL 33146
and against Ryder Ri
whose last known address is 31609 2nd St. Acton, CA 93510-1903
                             Principal, $ p                   Interest,     $ 27,875                    Costs,
for $ $g,g95,346.50
and $ 120,000                   Attorney Fees.


ATTESTED this         ~V ~             day of       ~u~1C~         , 20~

Judgment debtor's driver's license no. and state;                          (last 4 digits) Q Unknown.

Judgment debtor's Social Security number;                                  (last 4 digits) Q Unknown.

Q No stay of enforcement ordered by Court
❑ Stay of enforcement ordered by Court, stay date ends


Judgment debtor's attorney's name and address and/or
address at which summons was served:

                                                             CLERK, U.S. DISTRICT COURT ~'~t~                tt
Wilmer Hale c/o Derek A. Gosma
                                                                                                            ~y


                                                                                                  .,;~=
                                                                                                   ~;~ ,„
250 South Grand Avenue, Suite 2400                                                                      ,

Los Angeles, CA 90071                                                                             ~ ~.~~~
                                                                            ty Clerk

                                                                    MARIA RQBLES VAtQUEZ
                                                                        T OF THE DISTRICT OF ORIGIN
NOTE:JUDGMENTS REGISTERED UNDER 28 U.S.C. 41963 BEAR THE RATE OFINTERES
AND CALCULATED AS OF THE DATE OF ENTRY IN THAT   DISTRICT .

G-18 (03/12)                               ABSTRACT OF JUDUMENT/ORDER
